     Case 3:05-cr-00527-JAH                            Document 797                Filed 06/05/12                PageID.3543            Page 1 of 4



     <'ll;AO 245D (CASD) (Rev. 1112) Judgment in a Criminal Case for Revocations
                 Sheet I                                                                                                   FILED
                                                UNITED STATES DISTRICT                                   CoJliUN -5 AM 8: 21
                                                                                                                     ;:,     ';iSHtICT COURT
                                                      SOUTHERN DISTRICT OF CALIFORNIA                                        ",:", ';r C.~UfO"~;;.'

                     UNITED STATES OF AMERICA                                       JUDGMENT INA CRIl\fINAL'fASKtl"llTV
                                           V.                                       (For Revocation of Probation or Supervised Release)
                            Norvell Martens -12                                     (For Offenses Comm itted On or After November 1, 1987)


                                                                                    Case Number: OS-cr-00S27-JAH-l2

                                                                                     Francisco Sanchez
                                                                                    Defendant's Attorney
    REGISTRATION No. 94318198
o
    THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No.,_O:::.:!ne~an:!:d::...tw:.::.:o;:;.._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     D was found in violation of allegation(s) No. _ _ _ _ _ _ _ _ _ _ _ _ _ _after denial ofguilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty ofthe following allegation(s):

    Allegation Number                           Nature ofViolatioD
              1,2              Committed a federal, state or local offense (nvl)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through                     _4_ of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and UOlted States Attorney of any material change in the
    defendant's economic circumstances.

                                                                                    May 29, 2012
                                                                                    Date of Imposition of Sentence




                                                                                         ITED STATES DISTRICT JUDGE




                                                                                                                                    OS-cr-00527-JAH-12
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AO 2450 (CASO) (Rev> 1f12) Judgment ill a Criminal Case for Revocations
           Sheet 2 -Imprisonment
                                                                                                    Judgment -   Page _ _
                                                                                                                        2 _ of      4
 DEFENDANT: Norvell Martens -12
 CASE NUMBER: OS-cr-00S27-JAH-12
                                                                   IMPRISONMENT
          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          Time served effective date: June 10, 2012, consecutive to any State sentence.




     o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
             Oat                                        Oa.m.             Op.m.    on
                 as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before -------------------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                            RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                          to

  at _ _~_ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                   UNlTED STATES MARSHAL


                                                                                  By
                                                                                               DEPUTY UNITED STATES MARSHAL




                                                                                                                        OS-cr-00S27 -JAH-12
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AO 245D (CASD) (Rev. 1/12) Judgment in a Criminal Case for Revocations
              Sheet 3 .~. Supervised RelellSe
                                                                                                               Judgment~   Page   - L - of _ _..:.4_ __
DEFENDANT: Norvell Martens -12                                                                         D
CASE NUMBER: OS-cr-OOS27-JAH-12
                                                           SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:



         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refmin from any unlawful use ofa ?on.trolled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two penodlc drug !ests
thereafter as determined by the court. Testing requirements will not exceed submission of more than _4_ drug tests per month dunng
the term of supervision, unless otherwise ordered by court.

o The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
  future substance abuse. (Check, ifapplicable.)
        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
        The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 ofthe DNA Analysis
        Backlog Elimination Act pf2000,pursuant to 18 USC sections 3563(a)(7) and 3583(d).                                                           .
        The defendant shall comply with tile requirements ofthe Sex Offender"Registmtion and Notification Act (42 U.S.C. § 16901, et seq.) as dIrected
        by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
o       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If tbis judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
          The defendant must comply with the standard conditions that have been adopted by tbis court. The defendant shall also comply with
 any special conditions imposed.

                                            STANDARD CONDITIONS OF SUPERVISION
   1)     tbe defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)     the defendant shall answer truthfully aU inquiries by the probation officer and follow the instructions of the probation officer;
   4)     the defendant shaH support his or her dependents and meet other family responsibilities;
   5)     the defendant shall work regularly at a lawful occupation, 1lII1ess excused by the probation officer for schooling, training, or other
          acceptable reasons;
   6)     the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
          controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)     the defendant shall not associate with any persons engaged in criminal activity and sball not associate with any person convicted of
          a felony, unless granted permission to do so by the probation officer;
  10)     the defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and shall permit confiscation of any
          contraband observed in plain view of the probation officer;
  11)     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
  12)     the d~fe.ndant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          permISSIon of the court; and
  13)     as directed by the pro~ation officer, the defendant shall notify tbird parties of risks that may be occasioned by the defendant's criminal
          record or personal hIstory or chamcteristics and shall permit the probation officer to make sucb notifications and to confirm the
          defendant's compliance with such notification requirement.

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       AO 245D (CAS D) (Rev. 1112) Judgment in a Criminal Case for Revocations
                  Sheet 4 - Special Conditions
                                                                                                         Judgment-Page ~ of _ _4.:-.._ _
       DEFENDANT: Norvell Martens -12
       CASE NUMBER: OS-cr-OOS27-JAH-12




                                               SPECIAL CONDITIONS OF SUPERVISION
o   Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.
o   If deported, excluded, or allowed to voluntarily retum to country of origin, not reenter the United States illegally and report to the probation
    officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o   Participate in anger management or domestic violence counseling as directed by the Probation Officer.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
o   Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required to contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical prescription, and provide proof of prescription to the probation
    officer, if directed.
o   Provide complete disclosure of personal and business financial records to the probation officer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or opening additional lines of credit without approval of the
    probation officer.

o   Successfully complete a residential drug treatment program.
o   Resolve all outstanding warrants within                   days.
o   Complete             hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.




                                                                                                                                OS-cr-OOS27-JAH-12
